         Case 2:23-cv-02612-MAK Document 32 Filed 01/30/24 Page 1 of 1




                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 HOLLY DOBROSKY                                 : CIVIL ACTION
                                                :
                      v.                        : NO. 23-2612
                                                :
 JENNIFER LOMETTI                               :



                                             ORDER
       AND NOW, this 30th day of January 2024, upon considering Defendant’s Motion to

dismiss (ECF No. 29) the second amended Complaint (ECF No. 27), Plaintiff’s Opposition (ECF

No. 30), and for reasons in today’s accompanying Memorandum, it is ORDERED we GRANT

Defendant’s Motion to dismiss (ECF No. 29) requiring we dismiss the remaining claims with

prejudice and direct the Clerk of Court to close this case.



                                                      _________________________
                                                      KEARNEY, J.
